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                       Exhibit
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                                                      1 Ryan Gile, Esq.
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                                                      3 1180 N. Town Center Drive, Suite 100
                                                        Las Vegas, NV 89144
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                                                      5 Rob L. Phillips, Esq.
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                                                      6 Nevada Bar No. 8225
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                                                      7
                                                        5670 Wilshire Blvd., Suite 1800
                                                      8 Los Angeles, California 90036
                                                        Tel. (702) 518-1239
                                                      9
                                                        Attorneys for Plaintiff/Counter-Defendant
                                                     10 Aim High Investment Group, LLC

                                                     11                                UNITED STATES DISTRICT COURT
                                                     12                                        DISTRICT OF NEVADA
                 1180 N. Town Center Dr. Suite 100




                                                     13    AIM HIGH INVESTMENT GROUP,                      )       Case 2:22-cv-00158-GMN-DJA
Gile Law Group
                       Las Vegas, NV 89144




                                                           LLC,                                            )
                                                     14                                                    )
                                                                   Plaintiff/Counter-Defendant,            )
                                                     15                                                    )       PLAINTIFF’S INITIAL DISCLOSURES
                                                                   v.                                      )       PURSUANT TO FED. R. CIV. P. 26(a)
                                                     16                                                    )
                                                           SPECTRUM LABORATORIES, LLC,                     )
                                                     17                                                    )
                                                                   Defendant/Counterclaimant.              )
                                                     18                                                    )
                                                                                                           )
                                                     19
                                                                 Pursuant to Rule 26 of the Federal Rules of Civil Procedure, Plaintiff AIM HIGH
                                                     20
                                                          INVESTMENT GROUP, LLC (jointly “Defendants”), by and through its undersigned counsel of
                                                     21
                                                          record, hereby makes its initial disclosures. These initial disclosures are based on information
                                                     22
                                                          presently available to Plaintiff as of this date, recognizing that its investigation continues, and that
                                                     23
                                                          discovery has just begun. Plaintiff’s investigation of this case is ongoing, and Plaintiff reserves the
                                                     24
                                                          right to amend, modify, and supplement these initial disclosures at any time as additional
                                                     25
                                                          information becomes available during the course of discovery.
                                                     26
                                                                 In making these disclosures, Plaintiff does not purport to identify every individual
                                                     27
                                                          document, data compilation, or tangible thing possibly relevant to this lawsuit. Rather, Plaintiff’s
                                                     28


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                                                      1 disclosures represent a good faith effort to identify discoverable information it currently and

                                                      2 reasonably believes may be used to support its claims and defenses as required by Fed. R. Civ. P.

                                                      3 26(a)(1). Furthermore, Plaintiff makes these disclosures without waiving its right to object to the

                                                      4 production of any document, data compilation, or tangible thing disclosed on the basis of any

                                                      5 privilege, work product, relevancy, undue burden, or other valid objection. These disclosures do

                                                      6 not include information that may be used solely for impeachment purposes. While making these

                                                      7 disclosures, Plaintiff reserves, among other rights, (1) the right to object on the grounds of

                                                      8 competency, privilege, work product, relevancy and materiality, admissibility, hearsay, or any

                                                      9 other proper ground to the use of any disclosed information, for any purpose in whole or in part in

                                                     10 this action or any other action, and (2) the right to object on any and all proper grounds, at any

                                                     11 time, to any discovery request, discovery motion, or other discovery procedures relating to the

                                                     12 persons or documents identified in these initial disclosures or relating to the subject matter of this
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                                                     13 litigation. In addition, these disclosures do not identify or otherwise include information regarding
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                       Las Vegas, NV 89144




                                                     14 expert witnesses, as Fed. R. Civ. P. Rule 26(a) does not require Plaintiff to provide such

                                                     15 information at this time. The following disclosures are made subject to the above objections and

                                                     16 qualifications.

                                                     17          A.       WITNESSES

                                                     18          The name and, if known, the address and telephone number of each individual likely to

                                                     19 have discoverable information that the disclosing party may use to support its claims or defenses,

                                                     20 unless solely for impeachment, identifying the subjects of the information:

                                                     21          1. Michael Salame
                                                                    c/o Gile Law Group Ltd.
                                                     22             1180 N. Town Center Drive, Suite 100
                                                                    Las Vegas, NV 89144
                                                     23
                                                                    Tel. (702) 703-7288
                                                     24
                                                                 This witness is the Manager of Plaintiff and may provide testimony or possess documents
                                                     25
                                                          or information concerning the facts related to the claims or defenses asserted in this action along
                                                     26
                                                          with other facts or knowledge that the witness may have which may be relevant in this action.
                                                     27
                                                                 2. Matt Stephens
                                                     28             c/o SANTORO WHITMIRE


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                                                      1                10100 W. Charleston Blvd., Suite 250
                                                                       Las Vegas, Nevada 89135
                                                      2                Tel.: (702) 948-8771
                                                      3
                                                                    This witness has knowledge of or possesses documents or information concerning the facts
                                                      4
                                                          related to the claims or defenses asserted in this action, including the patents at issue, along with
                                                      5
                                                          other facts or knowledge that the witness may have which may be relevant in this action.
                                                      6
                                                                    3. James Keller
                                                      7                c/o SANTORO WHITMIRE
                                                                       10100 W. Charleston Blvd., Suite 250
                                                      8                Las Vegas, Nevada 89135
                                                                       Tel.: (702) 948-8771
                                                      9
                                                                    This witness has knowledge of or possesses documents or information concerning the facts
                                                     10

                                                     11 related to the claims or defenses asserted in this action, including the patents at issue, along with

                                                     12 other facts or knowledge that the witness may have which may be relevant in this action.
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                                                                    4. Kevin Ezcell
                                                     13
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                       Las Vegas, NV 89144




                                                                       c/o SANTORO WHITMIRE
                                                     14                10100 W. Charleston Blvd., Suite 250
                                                                       Las Vegas, Nevada 89135
                                                     15                Tel.: (702) 948-8771
                                                     16             This witness has knowledge of or possesses documents or information concerning the facts
                                                     17 related to the claims or defenses asserted in this action, including the patents at issue, along with

                                                     18 other facts or knowledge that the witness may have which may be relevant in this action.

                                                     19             5. Rule 30(b)(6) Witness(es) for Defendant SPECTRUM LABORATORIES, LLC
                                                     20                c/o SANTORO WHITMIRE
                                                                       10100 W. Charleston Blvd., Suite 250
                                                     21                Las Vegas, Nevada 89135
                                                                       Tel.: (702) 948-8771
                                                     22
                                                                    This witness has knowledge of or possesses documents or information concerning the facts
                                                     23
                                                          related to the claims or defenses asserted in this action, including the allegations in the pleadings,
                                                     24
                                                          along with other facts or knowledge that such witness(es) may have which may be relevant in this
                                                     25
                                                          action.
                                                     26
                                                                    6. John Acunto
                                                     27                Tel.: 561-654-1213
                                                     28


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                                                      1           This witness is Defendant’s former CEO and has knowledge of or possesses documents or

                                                      2 information concerning the facts related to the claims or defenses asserted in this action along with

                                                      3 other facts or knowledge that the witness may have which may be relevant in this action.

                                                      4           7. Fran Kusala
                                                                     Address Currently Unknown
                                                      5
                                                                  This witness is Defendant’s former operations manager and has knowledge of or possesses
                                                      6
                                                          documents or information concerning the facts related to the claims or defenses asserted in this
                                                      7
                                                          action along with other facts or knowledge that the witness may have which may be relevant in
                                                      8
                                                          this action.
                                                      9
                                                                  8. Fred Robson
                                                     10
                                                                     Woodstock Enterprises Inc.
                                                     11              514-800-0491

                                                     12           This witness has knowledge of or possesses documents or information concerning the facts
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                                                     13 related to the claims or defenses asserted in this action along with other facts or knowledge that
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                                                     14 the witness may have which may be relevant in this action.

                                                     15           9. Chris Swain
                                                                     Address Currently Unknown
                                                     16
                                                                  This witness has knowledge of or possesses documents or information concerning the facts
                                                     17
                                                          related to the claims or defenses asserted in this action along with other facts or knowledge that
                                                     18
                                                          the witness may have which may be relevant in this action.
                                                     19
                                                                  10. Robert Grimm
                                                     20
                                                                      513 Ventures, LLC
                                                     21               8190 Beechmont Ave. Suite 312
                                                                      Cincinnati, OH 45255
                                                     22
                                                                  This witness has knowledge of or possesses documents or information concerning the facts
                                                     23
                                                          related to the claims or defenses asserted in this action along with other facts or knowledge that
                                                     24
                                                          the witness may have which may be relevant in this action.
                                                     25
                                                                  11. Kevin Stewart
                                                     26               13238 Middlewood Lane
                                                     27               Fishers, Indiana 46038

                                                     28           This witness has knowledge of or possesses documents or information concerning the facts


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                                                      1 related to the claims or defenses asserted in this action along with other facts or knowledge that

                                                      2 the witness may have which may be relevant in this action.

                                                      3          12. Rule 30(b)(6) Witness(es) for Element Materials Technology
                                                                     9240 Santa Fe Springs Road
                                                      4              Santa Fe Springs, CA 90670
                                                      5
                                                                 This witness has knowledge of or possesses documents or information concerning the facts
                                                      6
                                                          related to the claims or defenses asserted in this action, including Defendant’s lab testing of
                                                      7
                                                          Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may have
                                                      8
                                                          which may be relevant in this action.
                                                      9
                                                                 13. Rule 30(b)(6) Witness(es) for S & N Labs
                                                     10              2021 E. Fourth Street, Suite 112
                                                                     Santa Ana, CA 92705
                                                     11
                                                                 This witness has knowledge of or possesses documents or information concerning the facts
                                                     12
                 1180 N. Town Center Dr. Suite 100




                                                          related to the claims or defenses asserted in this action, including Defendant’s lab testing of
                                                     13
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                                                          Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may have
                                                     14
                                                          which may be relevant in this action.
                                                     15
                                                                 14. Rule 30(b)(6) Witness(es) for Micro Quality Labs, Inc.
                                                     16              3125 N. Damon Way
                                                                     Burbank, CA 91505
                                                     17

                                                     18          This witness has knowledge of or possesses documents or information concerning the facts

                                                     19 related to the claims or defenses asserted in this action, including lab testing of Plaintiff’s XStream

                                                     20 product, along with other facts or knowledge that such witness(es) may have which may be

                                                     21 relevant in this action.

                                                     22          15. Rule 30(b)(6) Witness(es) for Chemsavers, Inc.
                                                                     287 Thistle St.
                                                     23              Bluefield, VA 24605
                                                     24          This witness has knowledge of or possesses documents or information concerning the facts
                                                     25 related to the claims or defenses asserted in this action, including certain chemical ingredients of

                                                     26 Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may have

                                                     27 which may be relevant in this action.

                                                     28


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                                                      1          16. Rule 30(b)(6) Witness(es) for Carolina Biological Supply
                                                                     2700 York Road
                                                      2              Burlington, NC 27215-3398
                                                      3
                                                                 This witness has knowledge of or possesses documents or information concerning the facts
                                                      4
                                                          related to the claims or defenses asserted in this action, including certain chemical ingredients of
                                                      5
                                                          Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may have
                                                      6
                                                          which may be relevant in this action.
                                                      7
                                                                 17. Rule 30(b)(6) Witness(es) for MP Biomedicals
                                                      8              29525 Fountain Parkway
                                                                     Solon, OH 44139
                                                      9
                                                                 This witness has knowledge of or possesses documents or information concerning the facts
                                                     10
                                                          related to the claims or defenses asserted in this action, including certain chemical ingredients of
                                                     11
                                                          Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may have
                                                     12
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                                                          which may be relevant in this action.
                                                     13
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                                                                 18. Rule 30(b)(6) Witness(es) for DS Services of America, Inc.
                                                     14              200 Eagles Landing Dr.
                                                                     Lakeland, FL 33810
                                                     15

                                                     16          This witness has knowledge of or possesses documents or information concerning the facts

                                                     17 related to the claims or defenses asserted in this action, including the water component of

                                                     18 Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may have

                                                     19 which may be relevant in this action.

                                                     20          19. Rule 30(b)(6) Witness(es) for Botanic Beauty Products Inc.
                                                                     5131 Procyon St.
                                                     21              Las Vegas, NV 89118
                                                     22          This witness has knowledge of or possesses documents or information concerning the facts
                                                     23 related to the claims or defenses asserted in this action, including the manufacturing and copacking

                                                     24 of Plaintiff’s XStream product, along with other facts or knowledge that such witness(es) may

                                                     25 have which may be relevant in this action.

                                                     26          20.     Defendant’s officers, employees, agents, licensees, customers, and independent
                                                     27 contractors regarding the allegations set forth in the pleadings.

                                                     28


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                                                      1          21.     Any witnesses identified in Defendant’s initial disclosures pursuant to Rule

                                                      2 26(a)(1), as well as any other witness disclosed or otherwise identified during the course of

                                                      3 discovery that Defendant may use to support its counterclaims or defenses.

                                                      4          22.     Any other persons, experts or entities identified by any party in connection with

                                                      5 this matter.

                                                      6          23.     Any impeachment or rebuttal witness.

                                                      7          24.     Any custodian of records for of any entity involved in this matter, which witnesses

                                                      8 may be required to lay appropriate foundation for admission of documents in this matter.

                                                      9          25.     Plaintiff reserves the right to supplement this list either to add or delete witnesses

                                                     10 in the event that subsequent discovery and/or investigation warrants the same.

                                                     11          26.     Plaintiff reserves the right to name expert witnesses.

                                                     12          27.     Plaintiff reserves the right to challenge any witness presented by Defendant on the
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                                                     13 basis of foundation relevance, hearsay, and other objections necessary.
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                       Las Vegas, NV 89144




                                                     14          B.      DOCUMENTS

                                                     15          A copy of, or a description by category and location of, all documents, data compilations,

                                                     16 and tangible things that are in the possession, custody, or control of the party and that the disclosing

                                                     17 party may use to support its claims or defenses, unless solely for impeachment:

                                                     18          1.      All of the pleadings and papers on file herein and any exhibits attached thereto.

                                                     19          2.      File wrapper histories for the patents in suit.

                                                     20          3.      Pre-litigation correspondence between the parties.

                                                     21          4.      Documents and things relating to the composition and manufacturing Plaintiff’s

                                                     22 XStream Product.

                                                     23          5.      Documents and things relating to the preservation of Plaintiff’s XStream Product.

                                                     24          6.      Documents reflecting the analytics of the chemicals and ingredients in Plaintiff’s

                                                     25 XStream Product.

                                                     26          7.      Retained samples of lots of Plaintiff’s XStream Product.

                                                     27          8.      Lab test results for Plaintiff’s XStream Product.

                                                     28          9.      Plaintiff reserves the right to amend this production at any time in which documents


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                                                      1 become available.

                                                      2           10.   Plaintiff reserves the right to list additional exhibits and documents in the event that

                                                      3 subsequent discovery and/or investigation warrants the same.

                                                      4           11.   Plaintiff reserves the right to use all documents relevant to this litigation, including,

                                                      5 without limitation, information relevant to expert, impeachment or rebuttal witnesses.

                                                      6           12.   Plaintiff reserves the right to submit any exhibit and/or document disclosed by

                                                      7 Defendant.

                                                      8           13.   Plaintiff reserves the right to submit any exhibits as may be necessary for purposes

                                                      9 of rebuttal or impeachment.

                                                     10           14.    Plaintiff reserves the right to use all documents identified in any pleadings or papers

                                                     11 filed by any party in this matter. However, this reservation of rights is not a waiver of any

                                                     12 objections Plaintiff may have to those documents.
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                                                     13           15.    Plaintiff reserves the right to use all documents identified in the course of discovery
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                       Las Vegas, NV 89144




                                                     14 in this matter. However, this reservation of rights is not a waiver of any objections Plaintiff may

                                                     15 have to those documents.

                                                     16           C.     DAMAGES

                                                     17           A computation of any category of damages claimed by the disclosing party, making

                                                     18 available for inspection and copying as under Rule 34 the documents or other evidentiary material,

                                                     19 not privileged or protected from disclosure, on which such computation is based, including

                                                     20 materials bearing on the nature and extent of injuries suffered:

                                                     21           Not Applicable. However, upon prevailing against Defendant’s Counterclaim, Plaintiff

                                                     22 intends to seek a finding that this case is exceptional and seek its attorney’s fees and costs under

                                                     23 35 U.S.C. §285. Plaintiff cannot presently calculate the amount of such fees and costs it will seek

                                                     24 as such fees remain ongoing and continuous until such time as judgment against Defendant is

                                                     25 entered.

                                                     26 / / /

                                                     27 / / /

                                                     28 / / /


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                                                      1          D.      INSURANCE

                                                      2          For inspection and copying as under Rule 34 any insurance agreement under which any

                                                      3 person carrying on an insurance business may be liable to satisfy part or all of a judgment which

                                                      4 may be entered in the action or to indemnify or reimburse for payments made to satisfy the

                                                      5 judgment:

                                                      6          None.

                                                      7

                                                      8          Dated: May 16, 2022

                                                      9                                              Respectfully Submitted,

                                                     10                                              GILE LAW GROUP, LTD.

                                                     11
                                                                                                     /s/ Ryan Gile
                                                     12                                              Ryan Gile, Esq.
                 1180 N. Town Center Dr. Suite 100




                                                                                                     Nevada Bar No. 8807
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                                                                                                     Tel. (702) 703-7288
                                                     15
                                                                                                     FISHERBROYLES, LLP
                                                     16                                              Rob L. Phillips, Esq.
                                                                                                     rob.phillips@fisherbroyles.com
                                                     17                                              Nevada Bar No. 8225
                                                     18                                              5670 Wilshire Blvd., Suite 1800
                                                                                                     Los Angeles, California 90036
                                                     19                                              Tel. (702) 518-1239

                                                     20                                              Attorney for Plaintiff/Counter-Defendant
                                                                                                     Aim High Investment Group, LLC
                                                     21

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                                                      1                                   CERTIFICATE OF SERVICE

                                                      2          I hereby certify that on May 16, 2022, I served a full, true and correct copy of the foregoing

                                                      3 PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a) via email

                                                      4 on the following parties:

                                                      5
                                                                 NICHOLAS J. SANTORO, ESQ.
                                                      6          JASON D. SMITH, ESQ.
                                                                 SANTORO WHITMIRE
                                                      7
                                                                 10100 W. Charleston Blvd., Suite 250
                                                      8          Las Vegas, Nevada 89135
                                                                 Tel.: (702) 948-8771 / Fax: (702) 948-8773
                                                      9          Email: nsantoro@santoronevada.com
                                                                 jsmith@santoronevada.com
                                                     10
                                                                 DAVID B. CUPAR, ESQ.
                                                     11
                                                                 MATTHEW J. CAVANAGH, ESQ.
                                                     12          MCDONALD HOPKINS
                 1180 N. Town Center Dr. Suite 100




                                                                 600 Superior Avenue East, Suite 2100
                                                     13          Cleveland, OH 44114
Gile Law Group
                       Las Vegas, NV 89144




                                                                 Tel.: (216) 348-5730; Fax: (216) 348-5474
                                                     14          Email: dcupar@mcdonaldhopkins.com
                                                     15           mcavanagh@mcdonaldhopkins.com

                                                     16          Attorneys for Defendant/Counterclaimant
                                                                 Spectrum Laboratories, LLC
                                                     17

                                                     18                                                 /s/ Ryan Gile
                                                     19                                                 Employee, Gile Law Group Ltd.

                                                     20

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